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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JILL KATZ and MICHAEL KATZ, as                       Civil No.: 2:23-cv-04135-TJS
 Administrators of the Estate of SARAH
 KATZ, Deceased

                            Plaintiffs,

             v.

 PANERA BREAD COMPANY and
 PANERA, LLC
                  Defendants.


              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
                  MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

          Defendants Panera Bread Company and Panera, LLC have moved to dismiss Plaintiffs’

Complaint. Defendants’ motion to dismiss is fatally flawed for several reasons. Namely, they adopt

a self-serving and inaccurate interpretation of the facts in Plaintiffs’ Complaint. But when viewing

the factual allegations in the light most favorable to Plaintiffs, as required by law, Plaintiffs have

set for prima facie claims for strict products liability, negligence, misrepresentation, and breach of

warranty. Their wrongful death and survival action pleads sufficient facts to progress this case to

the discovery stages. For the reasons set forth in the accompanying Memorandum of Law,

incorporated by reference herein, Defendants’ Motion to Dismiss Plaintiffs’ Complaint should be

denied.




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       WHEREFORE, Plaintiffs respectfully request this Court deny Defendants’ motion to

dismiss.

                                 Respectfully Submitted:

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Dated: December 4, 2023




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